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7      Attorneys for Claimant
       Felix Lantsman
8

9

10
                            UNITED STATES DISTRICT COURT

11
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

12

13
       THE UNITED STATES OF                 )   Case No.: 2:21-CV-07191-RGK-MAR
       AMERICA,                             )
14                                          )   CLAIMANT FELIX LANTSMAN’S
15                 Plaintiff,               )   ANSWER TO COMPLAINT FOR
                                            )   FORFEITURE; DEMAND FOR
16
            vs.                             )   JURY TRIAL; NOTICE OF
17                                          )   INTERESTED PARTIES
18
                                            )
       $709,900.00 in U.S. Currency,        )   Judge: Hon. R. Gary Klausner
19                                          )
20                 Defendant.               )
                                            )
21
                                            )
22                                          )
                                            )
23
                                            )
24                                          )
25
                                            )
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        ANSWER OF FELIX LANTSMAN IN RESPONSE TO COMPLAINT FOR FORFEITURE
     Case 2:21-cv-07191-RGK-MAR Document 15 Filed 10/13/21 Page 2 of 12 Page ID #:46



1
             Claimant Felix Lantsman, (“Claimant”), reserving all constitutional rights,
2
       hereby answers the Government’s verified Complaint for Forfeiture (“Complaint”)
3
       in the above action as follows:
4

5
          1. In response to the allegations contained in Paragraph 1 of the Complaint,
6
       Claimant admits that this is a civil forfeiture action under 18 U.S.C. §
7
       981(a)(1)(A), but denies the allegations against him.
8

9

10
          2. In response to the allegations contained in Paragraph 2 of the Complaint,

11
       Claimant does not contest this Court’s jurisdiction, but denies the allegations

12     against him.
13

14        3. In response to the allegations contained in Paragraph 3 of the Complaint,
15     Claimant does not contest venue, but denies the allegations against him.
16

17        4. In response to the allegations contained in Paragraph 4 of the Complaint,
18     Claimant admits the allegations contained therein.
19

20
          5. In response to the allegations contained in Paragraph 5 of the Complaint,
21
       Claimant admits the allegations contained therein but denies that the amount seized
22
       consisted of $709,900.00; the amount contained in Box 4502 was $790,000.00.
23

24
          6. In response to the allegations contained in Paragraph 6 of the Complaint,
25
       Claimant lacks sufficient information to form a belief as to the truth of the
26
       allegations contained therein and therefore denies.
27

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        ANSWER OF FELIX LANTSMAN IN RESPONSE TO COMPLAINT FOR FORFEITURE
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1
          7. In response to the allegations contained in Paragraph 7 of the Complaint,
2
       Claimant admits the allegations contained therein.
3

4
          8. In response to the allegations contained in Paragraph 8 of the Complaint,
5
       the allegations are not directed to Claimant, the allegations are vague and
6
       ambiguous, and Claimant lacks sufficient information to form a belief as to the
7
       truth of the allegations contained therein and therefore denies.
8

9

10
          9. In response to the allegations contained in Paragraph 9 of the Complaint, the

11
       allegations are not directed to Claimant, the allegations are vague and ambiguous,

12     and Claimant lacks sufficient information to form a belief as to the truth of the
13     allegations contained therein and therefore denies.
14

15        10. In response to the allegations contained in Paragraph 10 of the Complaint,
16     the allegations are not directed to Claimant, the allegations are vague and
17     ambiguous, and Claimant lacks sufficient information to form a belief as to the
18     truth of the allegations contained therein and therefore denies.
19

20
          11. In response to the allegations contained in Paragraph 11 of the Complaint,
21
       the allegations are not directed to Claimant, the allegations are vague and
22
       ambiguous, and Claimant lacks sufficient information to form a belief as to the
23
       truth of the allegations contained therein and therefore denies.
24

25
          12. In response to the allegations contained in Paragraph 12 of the Complaint,
26
       the allegations are not directed to Claimant, the allegations are vague and
27

28


                                        3
        ANSWER OF FELIX LANTSMAN IN RESPONSE TO COMPLAINT FOR FORFEITURE
     Case 2:21-cv-07191-RGK-MAR Document 15 Filed 10/13/21 Page 4 of 12 Page ID #:48



1
       ambiguous, and Claimant lacks sufficient information to form a belief as to the
2
       truth of the allegations contained therein and therefore denies.
3

4
          13. In response to the allegations contained in Paragraph 13 of the Complaint,
5
       the allegations are not directed to Claimant, the allegations are vague and
6
       ambiguous, and Claimant lacks sufficient information to form a belief as to the
7
       truth of the allegations contained therein and therefore denies.
8

9

10
          14. In response to the allegations contained in Paragraph 14 of the Complaint,

11
       the allegations are not directed to Claimant, the allegations are vague and

12     ambiguous, and Claimant lacks sufficient information to form a belief as to the
13     truth of the allegations contained therein and therefore denies.
14

15        15. In response to the allegations contained in Paragraph 15 of the Complaint,
16     the allegations are not directed to Claimant, the allegations are vague and
17     ambiguous, and Claimant lacks sufficient information to form a belief as to the
18     truth of the allegations contained therein and therefore denies.
19

20
          16. In response to the allegations contained in Paragraph 16 of the Complaint,
21
       the allegations are not directed to Claimant, and Claimant lacks sufficient
22
       information to form a belief as to the truth of the allegations contained therein and
23
       therefore denies.
24

25
          17. In response to the allegations contained in Paragraph 17 of the Complaint,
26
       the allegations are not directed to Claimant, and Claimant lacks sufficient
27

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                                        4
        ANSWER OF FELIX LANTSMAN IN RESPONSE TO COMPLAINT FOR FORFEITURE
     Case 2:21-cv-07191-RGK-MAR Document 15 Filed 10/13/21 Page 5 of 12 Page ID #:49



1
       information to form a belief as to the truth of the allegations contained therein and
2
       therefore denies.
3

4
          18. In response to the allegations contained in Paragraph 18 of the Complaint,
5
       the allegations are not directed to Claimant, and Claimant lacks sufficient
6
       information to form a belief as to the truth of the allegations contained therein and
7
       therefore denies.
8

9

10
          19. In response to the allegations contained in Paragraph 19 of the Complaint,

11
       Claimant denies.

12

13        20. In response to the allegations contained in Paragraph 20 of the Complaint,
14     Claimant admits that he is a named defendant in Santa Clara Superior Court case,
15     People v. David Sutton, Brian Sutton, Vladimir Tsikman, Hershel Tsikman,
16     Roman Kardonskiy, Jaid Gorbon, et. al., Santa Clara Superior Court Case Number
17     C2007796. As to all other allegations in Paragraph 20, the allegations are vague
18     and ambiguous, and Claimant lacks sufficient information to form a belief as to the
19
       truth of the allegations contained therein and therefore denies.
20

21
          21. In response to the allegations contained in Paragraph 21 of the Complaint,
22
       Claimant denies.
23

24
          22. In response to the allegations contained in Paragraph 22 of the Complaint,
25
       Claimant denies.
26

27

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                                        5
        ANSWER OF FELIX LANTSMAN IN RESPONSE TO COMPLAINT FOR FORFEITURE
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1
          23. In response to the allegations contained in Paragraph 23 of the Complaint,
2
       Claimant denies.
3

4
          24. In response to the allegations contained in Paragraph 24 of the Complaint,
5
       Claimant denies.
6

7
          25. In response to the allegations contained in Paragraph 25 of the Complaint,
8
       Claimant denies.
9

10

11
          26. In response to the allegations contained in Paragraph 26 of the Complaint,

12     Claimant lacks sufficient information to form a belief as to the truth of the
13     allegations contained therein and therefore denies.
14

15        27 . Paragraph 27 of the Complaint does not require a response.
16

17        28. In response to the allegations contained in Paragraph 28 of the Complaint,
18     Paragraph 28 asserts legal propositions, which Claimant contests and denies.
19

20
          29. Paragraph 29 of the Complaint does not require a response.
21

22
          30. In response to the allegations contained in Paragraph 30 of the Complaint,
23
       Paragraph 30 asserts legal propositions, which Claimant contests and denies.
24

25
          31. Paragraph 31 of the Complaint does not require a response.
26

27

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                                        6
        ANSWER OF FELIX LANTSMAN IN RESPONSE TO COMPLAINT FOR FORFEITURE
     Case 2:21-cv-07191-RGK-MAR Document 15 Filed 10/13/21 Page 7 of 12 Page ID #:51



1
          32. In response to the allegations contained in Paragraph 32 of the Complaint,
2
       Paragraph 32 asserts legal propositions, which Claimant contests and denies.
3

4
                                FIRST AFFIRMATIVE DEFENSE
5
                                     (Failure to State a Claim)
6
          39. As a separate and distinct affirmative defense to the Complaint, Claimant is
7
       informed and believes and on that basis states and alleges that the Complaint does
8
       not state facts sufficient to state a claim for forfeiture of the Defendant Property.
9

10

11
                              SECOND AFFIRMATIVE DEFENSE

12                                   (Lack of Probable Cause)
13        40. As a separate and distinct affirmative defense to the Complaint, Claimant is
14     informed and believes and on that basis states and alleges that Plaintiff lacks
15     probable cause for seizing the Defendant Property and instituting this forfeiture
16     Action.
17

18                             THIRD AFFIRMATIVE DEFENSE
19
                                         (Innocent Owner)
20
          41. As a separate and distinct affirmative defense to the Complaint, Claimant is
21
       an innocent owner of the Defendant Property.
22

23
                              FOURTH AFFIRMATIVE DEFENSE
24
                                              (Laches)
25
          42. As a separate and distinct affirmative defense to the Complaint, Claimant is
26
       informed and believes and on that basis states and alleges that pursuant to the Due
27

28
       Process Clause of the United States Constitution and Plaintiff’s statutory obligation

                                        7
        ANSWER OF FELIX LANTSMAN IN RESPONSE TO COMPLAINT FOR FORFEITURE
     Case 2:21-cv-07191-RGK-MAR Document 15 Filed 10/13/21 Page 8 of 12 Page ID #:52



1
       to initiate this action promptly from the time of discovery of facts alleged to give
2
       rise to the Government’s claim, Plaintiff is now barred from bringing this forfeiture
3
       action by its unnecessary delay.
4

5
                                FIFTH AFFIRMATIVE DEFENSE
6
                                           (Due Process)
7
          43. As a separate and distinct affirmative defense to the Complaint, Claimant is
8
       informed and believes and on that basis states and alleges that the Government’s
9

10
       forfeiture claim is void and unenforceable as violative of the United States

11
       Constitution in that Claimant was denied notice and opportunity to be heard prior

12     to the seizure of the Defendant Property or the initiation of this forfeiture action in
13     violation of the Due Process Clause of the Fifth Amendment to the United States
14     Constitution.
15

16                             SIXTH AFFIRMATIVE DEFENSE
17                              (Unreasonable Search and Seizure)
18        44. As a separate and distinct affirmative defense to the Complaint, Claimant is
19
       informed and believes and on that basis states and alleges that the Government’s
20
       forfeiture claim is void and unenforceable as violative of the United States
21
       Constitution in that Claimant’s property was subject to unreasonable search and/or
22
       seizure in violation of the Fourth Amendment of the United States Constitution.
23

24
                             SEVENTH AFFIRMATIVE DEFENSE
25
                                          (Unclean Hands)
26

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        ANSWER OF FELIX LANTSMAN IN RESPONSE TO COMPLAINT FOR FORFEITURE
     Case 2:21-cv-07191-RGK-MAR Document 15 Filed 10/13/21 Page 9 of 12 Page ID #:53



1
          45. As a separate and distinct affirmative defense to the Complaint, Claimant is
2
       informed and believes and on that basis states and alleges that the Government’s
3
       forfeiture claim is barred by the doctrine of unclean hands and illegality.
4

5
                                EIGHTH AFFIRMATIVE DEFENSE
6
                                   (Incorporates Previous Claim)
7
          46. As a separate and distinct affirmative defense to the Complaint, Claimant
8
       has previously filed a Claim to the Defendant Property and incorporates and asserts
9

10
       by reference all rights and interests as set forth in the claim.

11

12                              NINTH AFFIRMATIVE DEFENSE
13                                     (Additional Defenses)
14        47. As a separate and distinct affirmative defense to the Complaint, Claimant
15     reserves the right to amend his Answer to Complaint as appropriate, including but
16     not limited to pleading additional affirmative defenses as further facts and
17     information is discovered by Claimant in this action.
18

19
          WHEREFORE, Claimant Felix Lantsman prays for judgment as follows:
20

21
          1. For the dismissal of the Complaint with prejudice and the entry of judgment
22
             in favor of Claimant;
23
          2. That the Defendant Property seized by Plaintiff, and any fruits thereof, be
24
             ordered released and surrendered to Claimant;
25
          3. For costs of suit and attorneys’ fees as allowed by law; and
26
          4. For such other and further relief in favor of Claimant as this Court deems
27

28
             proper and just.

                                        9
        ANSWER OF FELIX LANTSMAN IN RESPONSE TO COMPLAINT FOR FORFEITURE
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3
     DATED: October 13, 2021          Respectfully submitted,
4

5
                                      WERKSMAN JACKSON & QUINN LLP

6                                     _/s/ Mark J. Werksman____
7                                     Mark J. Werksman
                                      Karen M. Sosa
8
                                      Attorneys for Claimant Felix Lantsman
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      ANSWER OF FELIX LANTSMAN IN RESPONSE TO COMPLAINT FOR FORFEITURE
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1
                             DEMAND FOR JURY TRIAL
2
           Claimant Felix Lantsman hereby demands a trial by jury of the issues and
3
     defenses raised by his Claim and Answer in the above action.
4

5
     DATED: October 13, 2021              Respectfully submitted,

6                                         WERKSMAN JACKSON & QUINN LLP
7
                                          _/s/ Mark J. Werksman____
8
                                          Mark J. Werksman
9                                         Karen M. Sosa
10
                                          Attorneys for Claimant Felix Lantsman

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      ANSWER OF FELIX LANTSMAN IN RESPONSE TO COMPLAINT FOR FORFEITURE
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1
                        NOTICE OF INTERESTED PARTIES
2
          Claimant Felix Lantsman is aware of the following interested parties: Alla
3
     Lantsman and Asia Verbon.
4

5
     DATED: October 13, 2021              Respectfully submitted,
6

7                                         WERKSMAN JACKSON & QUINN LLP
8
                                          _/s/ Mark J. Werksman____
9                                         Mark J. Werksman
10
                                          Karen M. Sosa
                                          Attorneys for Claimant Felix Lantsman
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      ANSWER OF FELIX LANTSMAN IN RESPONSE TO COMPLAINT FOR FORFEITURE
